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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARY DICICCO (GEHRIG),                                )
                                                      )
                               Plaintiff,             )
                                                      )       Case No. 1:22-cv-4032
                v.                                    )
                                                      )       Hon. John F. Kness
ROUNDY’S ILLINOIS, LLC,                               )
d/b/a MARIANO’S,                                      )
                                                      )
                               Defendant.             )

                DEFENDANT’S RESPONSE BRIEF IN OPPOSITION TO
           PLAINTIFF’S MOTION TO SYNCHRONIZE BRIEFING SCHEDULES

         Defendant, Roundy’s Illinois, LLC d/b/a Mariano’s (“Mariano’s”), by and through its

undersigned counsel, respectfully submits this response brief in opposition to Plaintiff’s Motion to

Synchronize Briefing Schedules (Dkt. 16) on Mariano’s pending Motion to Dismiss (Dkt. 11).

                                            DISCUSSION

         Instead of simply working on a response to Mariano’s motion to dismiss, Plaintiff has

wasted everyone’s time by filing various “briefs about briefing” in this Court, and more than a

dozen others. Indeed, less than a week ago, Plaintiff asked this Court to stay briefing on the motion

to dismiss (Dkt. 13), causing Mariano’s to promptly file a response brief (Dkt. 14). Now, before

the Court has even had the chance to rule on the request for a stay, Plaintiff has reversed course

and is asking the Court to move forward with Mariano’s motion to dismiss and consolidate briefing

on that motion amongst fifteen different cases. In essence, Plaintiff seeks de facto consolidation

of these lawsuits for purposes of Mariano’s motion to dismiss, even before Judge Kendall has ruled

on the actual motion to re-consolidate filed in Cunningham (the case from which this lawsuit was

severed four months ago).1


1
    Cunningham v. Roundy’s Illinois, Case No. 21-cv-05368, Dkt. 47.
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       Plaintiff’s whip-saw motion practice is particularly disconcerting, and her divergent

requests to “stay” and “consolidate” briefing should be denied, for several reasons.

       First, Plaintiff fails to give any regard to the dockets, case management schedules, and –

perhaps more importantly – the orders and rulings of other judges in these various cases.

Yesterday, for example, Judge Rowland entered an order in Qazi v. Roundy’s, Case No. 22-cv-

4058, stating in relevant part:

           Plaintiff’s motion to stay is denied. Plaintiff seeks to stay the briefing
           schedule on Defendant’s motion to dismiss pending a ruling by Judge
           Kendall to consolidate under Rule 42(a) in Cunningham v. Roundy’s, 21-
           cv-05368. Plaintiff believes it is likely that Judge Kendall will consolidate
           this case with thirteen others in this district all alleging FLSA violations
           against Defendant. Defendant opposes the motion to stay, arguing that given
           the extensive procedural history in these cases (the plaintiffs first proceeded
           as a FLSA collective action before decertification; then they jointly refiled
           as a single action before Judge Kendall but Judge Kendall severed the
           cases), it is highly unlikely that Judge Kendall will grant the motion to
           consolidate. Regardless of whether Plaintiff’s motion to consolidate has
           merit, the Court finds no basis to stay briefing on Defendant’s motion to
           dismiss. Even if Judge Kendall decides to consolidate the cases and reassign
           them as related to her, cases do not lose their separate identities after
           consolidation. See Hall v. Hall, 138 S. Ct. 1118, 1128 (2018). Each
           constituent case “must be analyzed individually" and each case "should end
           in separate decrees or judgments.” Id.; see also Owners Ins. Co. v. Dorsey,
           No. 3:14-CV-01009-PMF, 2015 WL 13203448, at *1 (S.D. Ill. July 23,
           2015) (noting that consolidation does not “merge the suits into a single
           cause, or change the rights of the parties”) (quotation omitted).
           Consolidation thus does not change the parties’ rights in this case; a court
           will need to rule on Defendant’s motion to dismiss based on the
           individualized issues particular to Plaintiff here. For this reason, the Court
           finds no basis to stay briefing on Defendant’s pending motion to dismiss
           and denies Plaintiff's motion to stay. The briefing schedule set in the Court’s
           9/19/22 order stands.

                                                  Qazi, Dkt. 16 (internal docket numbers omitted).




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          In fact, the majority of judges in the other fourteen cases that Plaintiff seeks to consolidate

have denied plaintiff’s request for a stay, and have ordered the parties to proceed under the briefing

schedule established in each respective case:

             1. Milbourn v. Roundy’s, Case No. 22-cv-3988 (J. Guzman), Dkt. 18;

             2. Razzak v. Roundy’s, Case No. 22-cv-3990 (J. Coleman), Dkt. 15; 2

             3. Jackson (Powers) v. Roundy’s, Case No. 22-cv-3992 (J. Feinerman), Dkt. 22;

             4. Weaver v. Roundy’s, Case No. 22-cv-4033 (J. Valderrama), Dkt. 14;

             5. Prgam v. Roundy’s, Case No. 22-cv-4034 (J. Coleman), Dkt. 15; 3

             6. Costner v. Roundy’s, Case No. 22-cv-4049 (J. Shah), Dkt. 16;

             7. Garcia v. Roundy’s, Case No. 22-cv-4056 (J. Guzman), Dkt. 18;

             8. Qazi v. Roundy’s, Case No. 22-cv-4056 (J. Rowland), Dkt. 16.


          In contrast, plaintiff’s request for a stay has been granted in just one (1) case, Kearney v.

Roundy’s, Case No. 22-cv-4051 (J. Norgle), Dkt. 15. And although the minute order granting a

stay was entered by the Clerk on October 3, 2022, it was dated September 30, 2022 (the same day

plaintiff had filed her request for a stay in that case) – which means the decision to enter the minute

order was made well before Mariano’s had an opportunity to file its response brief in opposition

to the requested stay. (Dkt. 14). Based upon Chief Judge Rebecca Pallmeyer’s order yesterday, the

reason behind this unusual timing is now clear: Judge Norgle was in the process of retiring, and

the Kearney case has now been re-assigned to Hon. Sara L. Ellis. (Dkt. 16)



2
 Plaintiff’s counsel orally moved to stay briefing on Defendant’s motions to dismiss in the Prgam
and Razzak cases on September 21, 2022; Judge Coleman denied that request via minute order on
September 22, 2022, setting a briefing schedule on those motions.
3
    See, Note 2, supra.

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       Second, Plaintiff has not examined, let alone satisfied, the requirements for consolidation

here, so a de facto consolidation would be inappropriate. These plaintiffs (including this Plaintiff)

have already received multiple rulings prohibiting them from litigating their claims in tandem.

Specifically, Judge Bucklo denied plaintiffs the ability to litigate claims together in Haugen v.

Roundy’s Illinois, LLC, when she decertified the collective action because the plaintiffs are not

“similarly situated.” The plaintiffs then improperly re-filed their claims together in a single joint

action (Cunningham), which resulted in Judge Kendall severing the plaintiffs’ claims into fifteen

separate lawsuits. Then, when it came time to file their individual lawsuits, the plaintiffs falsely

stated on their civil cover sheets that Judge Kendall had dismissed (as opposed to severed) them

from Cunningham, resulting in the Clerk’s office assigning all of their cases back to Judge Kendall

– which, in turn, prompted Judge Kendall to enter a clarification order, directing the Clerk to

randomly distribute the cases to different judges throughout the Northern District.

       Because each of these cases must be litigated as its own separate, individual lawsuit, there

is no good reason to consolidate the briefing on Mariano’s motions to dismiss, especially after

judges have already set briefing schedules best suited to their particular dockets.

       Finally, attempting to consolidate the briefing schedules (to say nothing of oral arguments)

in unrelated cases would be nearly impossible, and unnecessarily delay the proceedings of each

particular case. Judges in these cases set various deadlines for each plaintiff to file his/her response

to Mariano’s motion to dismiss. Three of those deadlines have already passed (Ellis, Dkt. 17;

Fuhrmann, Dkt. 11; Cunningham, Dkt. 39), and one of those deadlines is today (Weaver, Dkt. 10).

Consolidating the various dockets to allow these motions to be briefed in tandem – something that

Judge Bucklo and Judge Kendall have already ruled out for these plaintiffs – for the mere sake of

“synchronicity” would introduce unnecessary delay.




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       Here, for instance, the Court’s standing order set October 14, 2022 (28 days from the filing

of Defendant’s motion to dismiss) as the deadline for Plaintiff’s response brief. (Dkt. 12). Yet

Plaintiff never explains why more time is needed to respond to Mariano’s 11-page Motion to

Dismiss (other than a passing reference to counsel’s downstate travel next week – well before the

deadline for Plaintiff’s response). This is of no small moment, because Rule 6(b) allows for an

extension of time prior to the expiration of a deadline for “good cause.” FED. R. CIV. P. 6(b). “Good

cause is a substantial reason that is not ‘arbitrary, irrational, unreasonable, irrelevant, or

capricious.’ Solomon v. Elsea, 676 F.2d 282, 287 (7th Cir. 1982). ‘The good cause standard focuses

on the diligence of the party seeking the extension,’ showing that despite diligence the timetable

could not reasonably have been met. Exe v. Fleetwood RV, Inc., 2011 WL 6257081, at *2 (N.D.

Ind. Dec. 14, 2011).” Tyler v. JP Operations, LLC, 2017 WL 6997842, at *1 (S.D. Ind. Aug. 30,

2017). Plaintiff has provided no showing of “good cause” here; indeed, Plaintiff never even claims

she is unable to meet the current briefing schedule.

       In truth, Plaintiff has had ample time to address Mariano’s motion to dismiss, but has

wasted that time trying to come up with ways to avoid Judge Kendall’s severance ruling in

Cunningham.      Indeed, since Mariano’s filed its dismissal motion on September 16, 2022,

Plaintiff’s counsel has found time to draft a 21-page motion to re-consolidate in Cunningham, and

to file more than thirty (30) other motions against Mariano’s in various cases. This suggests that

Plaintiff’s counsel has had more than enough time to prepare a response to Mariano’s Motion to

Dismiss. Plaintiff now seeks synchronization simply for the sake of synchronization itself; yet

Plaintiff can provide no legitimate explanation (let alone justification) for such relief.

                                            CONCLUSION

       While it is the standard practice of Mariano’s counsel to agree to reasonable extension

requests, Plaintiff’s procedural shenanigans over the past week have been anything but reasonable,


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and have caused Mariano’s to incur unnecessary expense. The Court should keep in place its

original deadline for Plaintiff to respond to Mariano’s Motion to Dismiss.

         WHEREFORE, for all of the reasons set forth above, Defendant, Roundy’s Illinois, LLC

d/b/a Mariano’s, respectfully requests that the Court enter an Order denying Plaintiff’s Motion to

Synchronize Briefing Schedules.


Dated:    October 7, 2022                        Respectfully submitted,

                                                 ROUNDY’S ILLINOIS, LLC d/b/a
                                                 MARIANO’S, Defendant

                                                 By: /s/ Christopher S. Griesmeyer
                                                       One of Its Attorneys

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 7, 2022, I caused the foregoing to be electronically filed

with the Clerk of the Court via the CM/ECF System which will send notification of such filing to

those registered to receive electronic notices via email transmission at the email addresses provided

by them, including counsel of record for Plaintiffs:


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